        Case 3:14-cr-03031-JLS                   Document 123          Filed 08/05/15           PageID.900                   Page 1 of 4
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                                  F~lED
                                                                                                                      AUG - 5 20f5
                                         UNITED STATES DISTRICT Co
                                              SOUTHERN DISTRICT OF CALIFORNIA I soBi;;t~\,j ~,.fS::,..?!3TR;CT COURT
                                                                                                  cWf '-'        ,I   I.J!    i   i'~ICT ~UFORNIA
               UNITED STATES OF AMERICA                                JUDGMENT IN A ~MINAh CASE ~gPUTY
                                    V.                                 (For Offenses Committed On or After November I, 1987)
               MELISSA LILIAN MONTES (2)
                                                                          Case Number:         14CR3031-JLS

                                                                       DAVID J. ZUGMAN
                                                                       Defendant's Attorney
REGISTRA TION NO.                   42848298
D -
IZl    pleaded guilty to count(s)          1, 3 and 4 of the Superseding Information

D      was found gUilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                     Count
Title & Section                          Nature of Offense                                                                          Number(s)
21 USC 952, 960 AND                      Conspiracy to Import Methamphetamine                                                           1
963
21 USC 841(a)(1); 18                     Possession of Heroin with Intent to Distribute; Aiding and                                     3
USC 2                                    Abetting
21 USC 84 1(a)(l); 18                    Possession of Methamphetamine with Intent to Distribute; Aiding                                4
USC 2                                    and Abetting

     The defendant is sentenced as provided in pages 2 through                   4            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

 D     Count(s)                                                   is         dismissed on the motion of the United States.

 IZl   Assessment: $100.00 as to each count 1,3 and 4 for a total of $300.00 imposed



 IZl No fine                    D Forfeiture pursuant to order filed                                                         , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                       July 31. 2015
                                                                       Date of Imposition of Sentenc.



                                                                         ON. JANlS'L. SAMMARTINO
                                                                       UNITED STATES DISTRICT JUDGE




                                                                                                                                    14CR3031-JLS
      Case 3:14-cr-03031-JLS           Document 123         Filed 08/05/15      PageID.901        Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                MELISSA LILIAN MONTES (2)                                               Judgment - Page 2 of 4
CASE NUMBER:              14CR3031-JLS

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:

 Forty-six (46) months as to each count 1,3 and 4 to run concurrent for the total of forty-six (46) months.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:

           1. Residential Drug Treatment Program (RDAP)
           2. Incarceration in the Western Region of the United States
           3. GED and V ocational Training Programs

 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o    at
                 - - - - - - - A.M.                           on
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       o     on or before
       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                -------------------------- to ------------------------------
 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        14CR3031-JLS
               Case 3:14-cr-03031-JLS                 Document 123              Filed 08/05/15            PageID.902            Page 3 of 4
      AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:                   MELISSA LILIAN MONTES (2)                                                                    Judgment - Page 3 of 4
      CASE NUMBER:                 14CR3031-JLS

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) years as to each count I, 3 and 4 to run concurrent for the total of three (3) years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court,
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
IZI         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
IZI         Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable,)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                          STANDARD CONDITIONS OF SUPERVISION
       I)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)   the defendant shall 2.nswer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
       4) the defendant shall support his or her dependents and meet other family responsibilities;
       5) the defendant shall work regularly at a lawful ()ccupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons:
       6) the defendant shall notiJY the probation ofticer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
       ) 0) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view of the probation officer;
       II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement t() act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
       13) as directed by the probation officer, the defendant shalt notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation ofticer to make such notifications and to confirm the defendant's compliance
            with such notification requirement



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      Case 3:14-cr-03031-JLS         Document 123         Filed 08/05/15      PageID.903       Page 4 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:             MELISSA LILIAN MONTES (2)                                              Judgment - Page 4 of 4
CASE NUMBER:           14CR303 I-JLS

                                SPECIAL CONDITIONS OF SUPERVISION

Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer
at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
violation of a condition ofrelease; failure to submit to a search may be grounds for revocation; the defendant shall
warn any other residents that the premises may be subject to searches pursuant to this condition.

Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

Report vehicles owned or operated, or in which you have an interest, to the probation officer.

Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and
counseling, as directed by the probation officer. Allow for reciprocal release ofinformation between the probation
officer and the treatment provider. May be required to contribute to the costs of services rendered in an amount
to be determined by the probation officer, based on ability to pay.




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